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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                               Magistrate Judge Michael E. Hegarty

   Civil Action No:      19-cv-00328-TMT-MEH                            Date: September 8, 2021
   Courtroom Deputy:     Emily Buchanan                                 FTR: Courtroom A 501*

   Parties:                                              Counsel:

   MICHAEL ABBONDANZA, et al.                            Courtenay Patterson

        Plaintiffs,

   v.

   JASON WEISS, et al.,                                  Joel Rothman (by VTC)
                                                         Franz Hardy
        Defendants.

                                    COURTROOM MINUTES
                                   DISCOVERY CONFERENCE

   Court in session:     2:02 p.m.

   Court calls case. Appearances of counsel. Also present by VTC: Defendant Jason Weiss.

   This matter is before the Court regarding discovery disputes as to Plaintiffs’ attempts to have
   Defendants supplement their FRCP 26(a)(1) disclosures to include five witnesses.

   Arguments by counsel.

   Discussion regarding the deposition date for Ms. Giovannia Paloni.

   Court will advise counsel whether the Final Pretrial Conference will remain set before this Court
   after conferring with Circuit Judge Tymkovich.

   ORDERED: Mr. Weiss shall provide to his counsel who will provide to Ms. Patterson the most
            recent address of Janet Hoyt and the last 4 numbers of Janet Hoyt’s social security
            number.

   ORDERED: Court admonishes Defendants to provide the Plaintiffs with whatever information
            they have for Janet Hoyt, Brad, Manny Noriega, George Merwin, and Teresa.

   ORDERED: Ms. Patterson shall attempt to find out if Ms. Giovannia Paloni wants to defend
            herself in this lawsuit.
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   ORDERED: Ms. Patterson shall submit a supplemental 26(a)(1) disclosure regarding the
            closed period of damages.

   Court in recess:          3:15 p.m.        Hearing concluded.
   Total in-court time:      1:13
   *To obtain a transcript of this proceeding, please contact Patterson Transcription Company at (303) 755-4536 or AB
   Litigation Services at (303) 629-8534.




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